                                      Case 17-35835 Document 1 Filed in TXSB on 10/16/17 Page 1 of 36
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number   (if known)                                                    Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Castex Energy Partners, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Three Allen Center
                                  333 Clay Street, Suite 2900
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Castex Energy Partners, L.P.                                                                  Case number (i f known )
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes .



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the               Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                    Case number
                                                   District                                When                                    Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Attachment                                                  Relationship
                                                   District                                When                               Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 17-35835 Document 1 Filed in TXSB on 10/16/17 Page 3 of 36
Debtor   Castex Energy Partners, L.P.                                                                  Case number (i f known )
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor ow n or        No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                       Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                   livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                               Where is the property?
                                                                                 Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                  No
                                                  Yes.    Insurance agency
                                                           Contact name
                                                           Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                               Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of            1-49                                                1,000-5,000                                 25,001-50,000
    creditors                      50-99                                               5001-10,000                                 50,001-100,000
                                   100-199                                             10,001-25,000                               More than100,000
                                   200-999

15. Estimated Assets               $0 - $50,000                                        $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                   $50,001 - $100,000                                  $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                                 $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                               $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities          $0 - $50,000                                        $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                   $50,001 - $100,000                                  $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                                 $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                               $100,000,001 - $500 million                 More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor    Castex Energy Partners, L.P.                                                             Case number (i f known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 16, 2017
                                                  MM / DD / YYYY


                             X   /s/ Aaron Killian                                                        Aaron Killian
                                 Signature of authorized representative of debtor                         Printed name

                                         Vice President and Chief Financial
                                 Title   Officer




18. Signature of attorney    X   /s/ Louis M. Phillips                                                      Date October 16, 2017
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Louis M. Phillips
                                 Printed name

                                 Kelly Hart & Pitre
                                 Firm name

                                 301 Main Street
                                 Suite 1600
                                 Baton Rouge, LA 70801-1916
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     225-381-9643                  Email address      louis.phillips@kellyhart.com

                                 LA 10505
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Castex Energy Partners, L.P.                                                      Case number (i f known )
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number   (if known)                                                  Chapter     11
                                                                                                                           Check if this an
                                                                                                                            amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Castex Energy 2005, L.P.                                                 Relationship to you                 Affiliate
           USBC for the Southern District of
District   TX, Houston Division                       When     10/16/17             Case number, if known
Debtor     Castex Energy II, LLC                                                    Relationship to you                 Affiliate
           USBC for the Southern District of
District   TX, Houston Division                       When     10/16/17             Case number, if known
Debtor     Castex Energy IV, LLC                                                    Relationship to you                 Affiliate
           USBC for the Southern District of
District   TX, Houston Division                       When     10/16/17             Case number, if known
Debtor     Castex Offshore, Inc.                                                    Relationship to you                 Affiliate
           USBC for the Southern District of
District   TX, Houston Division                       When     10/16/17             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 5
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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


In re:                                               CASE NO. 17-

CASTEX ENERGY PARTNERS, L.P.,                        Chapter 11

         Debtor.                                     (Joint Administration Requested)


                         CORPORATE OWNERSHIP STATEMENT


         Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

class of the Debtor’s equity interests:


Shareholder                                          Percentage of Shares or Units Held


Castex Energy 2005, L.P.                                           98.91%
          Case 17-35835 Document 1 Filed in TXSB on 10/16/17 Page 7 of 36



                           UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                           CASE NO. 17-

CASTEX ENERGY PARTNERS, L.P.,                                    Chapter 11

         Debtor.                                                 (Joint Administration Requested)


                            LIST OF EQUITY SECURITY HOLDERS1



Equity Holder                         Address of Equity Holder                    Percentage of Shares or
                                                                                        Units Held

Castex Energy 2005, L.P.              Three Allen Center                                    98.91%
                                      333 Clay Street, Suite 2900
                                      Houston, Texas 77002
Castex Energy II, LLC                 Three Allen Center                                     1.0%
                                      333 Clay Street, Suite 2900
                                      Houston, Texas 77002
Castex Energy IV, LLC                 Three Allen Center                                     0.09%
                                      333 Clay Street, Suite 2900
                                      Houston, Texas 77002




1
        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11
case.


                                                   Page 1 of 1
                                             Case 17-35835 Document 1 Filed in TXSB on 10/16/17 Page 8 of 36
Fill in this information to identify the case:
Debtor name Castex Energy Partners, L.P.
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                     Check if this is an

Case number (if known):                                                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders
                                     12/15

A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include
claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the 30 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
ALLISON                          HANK ROBARDS                    Lease Operating                                                                                         $129,218.00
OFFSHORE SVS,                                                    Costs
LLC                              EMAIL - N/A
Attn: HANK
ROBARDS                          PHONE -
101 GALBERT                      337-233-0306
ROAD
Lafayette, LA 70506              FAX -
                                 555-555-5555


ARCHROCK                         D. BRADLEY                      Lease Operating                                                                                         $273,050.00
PARTNERS                         CHILDERS                        Costs
OPERATING LLC
Attn: D. BRADLEY                 EMAIL -
CHILDERS
9807 KATY FRWY,                  PHONE -
SUITE 100                        281-836-8000
Houston, TX 77024
                                 FAX -

AXIP ENERGY                      Skip Herald                     Lease Operating                                                                                           $25,000.00
SERVICES                                                         Costs
Attn: Skip Herald                EMAIL -
1301 MCKINNEY                    JHERALD@AXIP.C
#900                             OM
FULBRIGHT TOWER
Houston, TX 77010                PHONE -
                                 832-294-6500

                                 FAX -
                                 361-575-6567




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
BAKER HUGHES                     MARTIN S.                       Lease Operating                                                                                           $32,498.00
PETROLITE LLC                    CRAIGHEAD                       Costs
Attn: MARTIN S.
CRAIGHEAD                        EMAIL -
17021 ALDINE                     WILL.MARSH@BA
WESTFIELD                        KERHUGHES.COM;
Houston, TX 77073
                                 PHONE -
                                 713-439-8600

                                 FAX -
                                 281-275-7218

CAPITAL ONE, N.A.                STEPHEN                         Bank Loan                                     $390,348,749.00                                         Undetermined
Attn: STEPHEN                    HARTMAN, CPA
HARTMAN, CPA
SPECIAL ASSETS,                  EMAIL -
ENERGY/MML                       STEPHEN.HARTMA
BANKING                          N@CAPITALONE.C
1000 LOUISIANA,                  OM
SUITE 2950
Houston, TX 77002                PHONE -
                                 713-435-5247

                                 FAX -
                                 713-650-4930
CETCO ENERGY                     Mr. Robert J.                   Lease Operating                                                                                           $23,614.00
SERVICES                         Trauger                         Costs
Attn: Robert J.
Trauger           EMAIL - N/A
3601 PAUL SEGURA
PARKWAY           PHONE -
New Iberia, LA    337-364-3117
70560
                  FAX -
                  337-365-0337
DOWN UNDER GEO Dr Matthew Lamont                                 Lease Operating                                                                                           $26,036.00
SOLUTIONS LLC     and Dr Troy                                    Costs
Attn: Dr Matthew  Thompson
Lamont/Dr Troy
Thompson          EMAIL -
16200 PARK ROW,   SALES@DUG.COM
SUITE 100         ;
Houston, TX 77084 SUPPORT@DUGE
                  O.COM

                                 PHONE -
                                 832-582-3221

                                 FAX - N/A




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
GE OIL & GAS                     WILL MARSH                      Lease Operating                                                                                           $22,919.00
PRESSURE                                                         Costs
Attn: WILL MARSH                 EMAIL -
11330 CLAY ROAD                  STEPHANIE.CATH
Houston, TX 77041                CART@GE.COM;
                                 WILL.MARSH@BA
                                 KERHUGHES.COM

                                 PHONE -
                                 202-637-4108

                                 FAX - N/A

ISLAND                           Mr. Gregg H.                    Lease Operating                                                                                           $25,615.00
OPERATING                        Falgout                         Costs
COMPANY, INC.
Attn: Gregg H.                   EMAIL -
Falgout                          RLASESTER@ISLA
108 ZACHARY                      NDOPERATING.CO
DRIVE                            M
Scott, LA 70583
                                 PHONE -
                                 337-233-9594

                                 FAX -
                                 337-235-9657

JOHN W STONE OIL                 Mr. John W. Stone               Lease Operating                                                                                           $28,232.00
DIST., LLC                       Jr.                             Costs
Atth: John W. Stone
Jr.                              EMAIL -
1601 BELLE                       JWSOFFSHORE@
CHASSE HIGHWAY                   STONEOIL.COM;
SUITE 300                        SSAUCIER@STON
Gretna, LA 70056                 EOIL.COM

                                 PHONE -
                                 504-366-3401

                                 FAX -
                                 504-392-3668

JONES OILFIELD                   Jimmy Lee Fusilier Lease Operating                                                                                                        $40,450.00
SERVICE & SUPPLY                                    Costs
LLC                              EMAIL - N/A
Attn: Jimmy Lee
Fusilier                         PHONE -
6140 HWY 90 E                    337-990-0151
Lake Charles, LA
70615                            FAX -
                                 337-990-0155




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
RC LOGISTICS, LLC                CHRIS RODGERS                   Lease Operating                                                                                           $30,530.00
Attn: CHRIS                                                      Costs
RODGERS                          EMAIL -
14058 WEST MAIN                  CHRIS@RCLOGIST
Larose, LA 70373                 ICS.BIZ

                                 PHONE -
                                 985-693-6676

                                 FAX - N/A

SHAMROCK                         JASON LYONS                     Lease Operating                                                                                           $23,710.00
ENERGY                                                           Costs
SOLUTIONS                        EMAIL -
Attn: JASON LYONS                SALES@GO-SHAM
4800 HWY 311                     ROCK.COM;
Houma, LA 70360                  INFO@GO-SHAMR
                                 OCK.COM

                                 PHONE -
                                 985-872-0505

                                 FAX -
                                 985-868-5321

SOUTHERN STATES                  RALPH                           Lease Operating                                                                                           $67,425.00
BROKERAGE, INC                   MCINGVALE                       Costs
Attn: RALPH
MCINGVALE                        EMAIL -
19101 OIL CENTER                 SSO@SSO4BOATS
BLVD.                            .COM
Houston, TX 77073
                                 PHONE -
                                 281-209-2871

                                 FAX -
                                 281-209-2879

TETRA                            BASS C WALLACE Lease Operating                                                                                                        $1,154,993.00
TECHNOLOGIES                     JR.            Costs
INC.
Attn: BASS C                     EMAIL -
WALLACE JR.                      CORPSECRETARY
24955 INTERSTATE                 @TETRATEC.COM
45 NORTH
The Woodlands, TX                PHONE -
77380                            281-367-1983

                                 FAX -
                                 281-364-4398




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
W & T OFFSHORE,                  TRACY KROHN                     Lease Operating                                                                                           $24,204.00
INC.                                                             Costs
Attn: TRACY                      EMAIL -
KROHN                            TWK@WTOFFSHO
NINE E. GREENWAY                 RE.COM
PLAZA
SUITE 300                        PHONE -
Houston, TX 77046                713-626-8525

                                 FAX -
                                 713-626-8527

WALTER OIL & GAS                 CHAD ELIAS                      Lease Operating                                                                                       $2,319,043.00
CORPORATION                                                      Costs
Attn: CHAD ELIAS                 EMAIL -
1100 LOUISANA,                   CELIAS@WALTER
SUITE 200                        OIL.COM
Houston, TX 77002
                                 PHONE -
                                 713-659-1221

                                 FAX -
                                 713-756-1177

WESTWIND                         ROBERT M.                       Lease Operating                                                                                         $124,643.00
HELICOPTERS, INC.                MCCOY                           Costs
Attn: ROBERT M.
MCCOY                            EMAIL -
8426 FM 2004                     CONTACT@WEST
Santa Fe, TX 77510               WINDHELICOPTER
                                 S.COM

                                 PHONE -
                                 409-925-7300

                                 FAX -
                                 409-925-7301

WOOD GROUP PSN,                  DAVE STEWART                    Lease Operating                                                                                         $141,059.00
INC.                                                             Costs
Attn: DAVE                       EMAIL - N/A
STEWART
3861 AMBASSADOR                  PHONE -
CAFFERY PKWY                     281-647-6825
SUITE 250
Lafayette, LA 70503              FAX -
                                 281-647-8300




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 5

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
ZEDI US INC.                     ROBERT W.                       Lease Operating                                                                                               $25,056
ATTN: ROBERT W.                  GORDON                          Costs
GORDON
GENERAL                          EMAIL -
COUNSEL AND                      KRIS.CHABERT@Z
CORPORATE                        EDISOLUTIONS.CO
SECRETARY                        M;
132 DEMANADE                     MARIA.GONZAGA
BLVD.                            @ZEDISOLUTIONS
LAFAYETTE, LA                    .COM
70503
UNITED STATES                    PHONE -
                                 337-233-2066

                                 FAX -
                                 337-237-3790

FRANCIS DRILLING                 Mr. Mike Francis                Lease Operating                                                                                               $21,043
FLUIDS, LTD.                                                     Costs
ATTN: Mr. Mike                   EMAIL -
Francis                          INFO@FDFLTD.CO
CEO                              M
240 JASMINE RD
CROWLEY, LA                      PHONE -
70526                            337-783-8685
UNITED STATES
                                 FAX -
                                 337-783-0059
OCEANEERING                      Mr. Roderick A.                 Lease Operating                                                                                               $19,334
INTERNATIONAL                    Larson                          Costs
ATTN: Mr. Roderick
A. Larson                        EMAIL -
CEO, President and               INVESTORRELATI
Director                         ONS@OCEANEERI
11911 FM 529                     NG.COM
HOUSTON, TX
77041                            PHONE -
UNITED STATES                    713-329-4500

                                 FAX -
                                 713-329-4951




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 6

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
EXPEDITORS &                     Todd Matte                      Lease Operating                                                                                               $17,824
PRODUCTION                                                       Costs
SERVICES CO, INC                 EMAIL -
ATTN: Todd Matte                 TMATTE@EPSTEA
President                        M.COM
206 MAGNATE
DRIVE                            PHONE -
LAFAYETTE, LA                    337-839-2735
70508
UNITED STATES                    FAX -
                                 337-839-2739

OIL STATES                       Lawrence R.                     Lease Operating                                                                                               $16,912
SKAGIT SMATCO,                   Dickerson                       Costs
LLC
ATTN: Lawrence R.                EMAIL -
Dickerson                        CRANES@OILSTA
President and CEO                TES.COM;
1180 MULBERRY                    WINCHES@OILST
RD                               ATES.COM
HOUMA, LA 70363
UNITED STATES                    PHONE -
                                 985-868-0630

                                 FAX -
                                 985-868-9733
OFFSHORE                         Mark Griggs                     Lease Operating                                                                                               $13,265
PROCESS                                                          Costs
SERVICES, INC.                   EMAIL -
ATTN: Mark Griggs                SS@OPSINCUSA.C
Owner and                        OM;
President                        INFO@OPSINCUSA
1206 PARK DR,                    .COM
SUITE 200
MANDEVILLE, LA                   PHONE -
70471                            985-727-2900
UNITED STATES
                                 FAX -
                                 985-727-2950

EPS LOGISTICS                    Todd Matte                      Lease Operating                                                                                               $12,781
COMPANY                                                          Costs
ATTN: Todd Matte                 EMAIL -
President                        TMATTE@EPSTEA
206 MAGNATE                      M.COM
DRIVE
LAFAYETTE, LA                    PHONE -
70508                            337-839-2735
UNITED STATES
                                 FAX -
                                 337-839-2739




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 7

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
MARQUIS                          RANDY WHEELER                   Contract Dispute        Contingent,                                                                  Undetermined
RESOURCES LLC                                                                            Unliquidated,
ATTN: RANDY                      EMAIL -                                                 Disputed
WHEELER
CHIEF EXECUTIVE                  PHONE -
OFFICER                          337-984-8345
400 E KALISTE
SALOOM RD #2600                  FAX -
LAFAYETTE, LA                    337-984-8935
70508
UNITED STATES

APACHE                           STEPHEN J. RINEY Litigation                             Contingent,                                                                  Undetermined
CORPORATION                                                                              Unliquidated,
ATTN: STEPHEN J.                 EMAIL -                                                 Disputed
RINEY                            OWNER.RELATION
EXECUTIVE VICE                   S@APACHECORP.
PRESIDENT AND                    COM
CHIEF FINANCIAL
OFFICER                          PHONE -
2000 POST OAK                    713-296-6000
BOULEVARD, SUITE
100                              FAX -
HOUSTON, TX                      713-296-6470
77056

SCHIFFER ODOM
HICKS & JOHNSON
PLLC
700 LOUISIANA,
SUITE 2650
HOUSTON, TX
77002
FIELDWOOD                        MIKE DANE                       Litigation              Contingent,                                                                  Undetermined
ENERGY, LLC                                                                              Unliquidated,
ATTN: MIKE DANE                  EMAIL -                                                 Disputed
SENIOR VICE                      DOUG.MACAFEE@
PRESIDENT AND                    FWELLC.COM;
CHIEF FINANCIAL                  VENDORS@FWEL
OFFICER                          LC.COM
2000 W. SAM
HOUSTON PKWY.                    PHONE -
SOUTH                            713-969-1000
SUITE 1200
HOUSTON, TX                      FAX -
77042                            713-969-1099
UNITED STATES




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 8

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Debtor     Castex Energy Partners, L.P.                                                                        Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim                          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade                       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,                       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,                       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                                   partially secured          of collateral or setoff
BENEFIT STREET                   THOMAS GAHAN                    Litigation              Contingent,                                                                  Undetermined
PARTNERS                                                                                 Unliquidated,
ATTN: THOMAS                     EMAIL -                                                 Disputed
GAHAN                            BSP-INFO@BENEF
CHIEF EXECUTIVE                  ITSTREETPARTNE
OFFICER                          RS.COM
9 W 57TH ST #4920
NEW YORK, NY                     PHONE -
10019                            212-588-6770
UNITED STATES
                                 FAX -
                                 212-588-6769




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 9

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 Fill in this information to identify the case:

 Debtor name         Castex Energy Partners, L.P.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                  (Official Form 204)
                  Other document that requires a declaration     (1) Corporate Ownership Statement and (2) Equity Interest Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 16, 2017                        X /s/ Aaron Killian
                                                                       Signature of individual signing on behalf of debtor

                                                                       Aaron Killian
                                                                       Printed name

                                                                       Vice President and Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                       Exhibit A

          Written Consent of the General Partner of Castex Energy Partners, L.P.
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